           Case 1:20-cr-00170-ADA-BAM Document 100 Filed 11/17/23 Page 1 of 3

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   Attorneys for Plaintiff
 6 United States of America

 7                               IN THE UNITED STATES DISTRICT COURT

 8                                  EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,                           CASE NO. 1:20-CR-00170-ADA-SKO
10
            Plaintiff,                                   STIPULATION TO ADVANCE STATUS
11                                                       CONFERENCE
                            v.
12
     KYLE WAYNE SMITH,
13
            Defendant.
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15
                                                 STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
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     through defendant’s counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for a status conference on December 11, 2023, at
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     2:00 p.m.
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            2.      By this stipulation, defendant now moves to advance the status conference from
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     December 11, 2023, at 2:00 p.m. to November 28, 2023.
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            3.      No exclusion of time is necessary as this matter involves a violation of probation.
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            IT IS SO STIPULATED.
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      STIPULATION TO ADVANCE STATUS CONFERENCE           1
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         Case 1:20-cr-00170-ADA-BAM Document 100 Filed 11/17/23 Page 2 of 3

 1
     Dated: November 17, 2023                         PHILLIP A. TALBERT
 2                                                    United States Attorney

 3
                                                By: /s/ ANTONIO J. PATACA
 4                                                  ANTONIO J. PATACA
                                                    Assistant United States Attorney
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 6 Dated: November 17, 2023                        /s/ MIKE MCKNEELY
                                                   Attorney for Defendant Kyle Wayne Smith
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     STIPULATION TO ADVANCE STATUS CONFERENCE     2
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          Case 1:20-cr-00170-ADA-BAM Document 100 Filed 11/17/23 Page 3 of 3

 1                                                ORDER

 2          This matter was set for a status conference on December 11, 2023, at 2:00 p.m..

 3 The status conference is hereby advanced from December 11, 2023, at 2:00 p.m. to November 28, 2023.

 4 The defendant is ordered to appear.

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     IT IS SO ORDERED.
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 7 Dated:     November 17, 2023
                                                     UNITED STATES MAGISTRATE JUDGE
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      STIPULATION TO ADVANCE STATUS CONFERENCE         3
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